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            EXHIBIT
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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MICHAEL WOOD,                                        )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )      1:20-cv-02369
                                                     )
SECURITY CREDIT SERVICES, LLC                        )
d/b/a EQUIPRO INVESTMENTS,                           )
                                                     )
               Defendant.                            )

                            DECLARATION OF BRETT SOLDEVILA

       The undersigned hereby states and affirms that the below facts are true and correct to the

best of his knowledge, information and belief, under penalties of perjury:

   1. I have personal knowledge of the matters set forth in this Declaration, and if called upon

to testify as a witness in the above-captioned proceedings (the “Litigation”), I would competently

testify to the following.

   2. I am the Chief Compliance Officer at Security Credit Services, LLC d/b/a EquiPro

Investments, a Mississippi limited liability company (“SCS”). In such capacity, I am authorized to

speak on SCS’ behalf on the matters contained in this Declaration.

   3. SCS’ principal business purpose consists of purchasing portfolios of asset receivables.

   4. In my role at SCS, I am knowledgeable about SCS’ purchase procedures and how account

information relevant to the accounts and debts that SCS purchases are acquired, maintained and

reported to credit reporting agencies. I am also knowledgeable about SCS’ business operations,

systems of recordkeeping, and policies and procedures.

   5. Each of the records identified below and attached hereto as Exhibits have been maintained

in the regular course and scope of the business of SCS and were created at or near the time of the

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acts, conditions or events which they intend to convey by a person with knowledge and a business

duty to report.

   6. I have custody and access to SCS’s records relating to a Pentagon Federal Credit Union

(“PenFed) credit card account bearing account number xxxx-xxxx-xxxx-0267 in the name of

Michael J. Wood (the “Account’). I have reviewed the books and records of SCS pertaining to the

Account and am familiar with the Account.

   7. SCS’ policies and procedures and recordkeeping include, in part, SCS notating events and

actions taken with respect to an account purchased by SCS in what SCS commonly refers to as

“account notes.” This is done in the normal course of SCS’ business at or near the time of the event

being recorded.

   8. I have custody and access to SCS’ account notes for the Account (the “Account Notes”).

Attached hereto as Exhibit 1 is a redacted, but otherwise true and accurate copy, of the Account

Notes. Exhibit 1 has been kept in the course of the regularly conducted business activity of SCS

in managing its purchased portfolios and was prepared as a regular practice and custom of that

activity at or near the time of the acts and events reported therein by, or from information

transmitted by, a person with knowledge of and a business duty to record or transmit those matters.

   9. Although SCS does not credit report every account it purchases, SCS does regularly credit

report many of its accounts to Equifax, Experian and TransUnion. When SCS credit reports an

account, it uses Metro 2 format – a standard data specification developed by the Consumer Data

Industry Association (“CDIA”) and published in the CDIA’s Credit Reporting Resource Guide.

   10. Equifax, Experian and TransUnion require that data furnishers, such as SCS, follow Metro

2 format when furnishing credit information.




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   11. Attached hereto as Exhibit 2 are true and accurate excerpts from the 2020 CDIA Credit

Reporting Resource Guide pertaining to compliance condition codes to be reported for purposes

of complying with federal credit reporting and debt collection statutes.

   12. Per the CDIA’s Credit Reporting Resource Guide, compliance condition code “XB” is the

code to be used when a consumer disputes a debt pursuant to the Fair Debt Collection Practices

Act. See Exhibit 2.

   13. SCS has purchased over 14,000 accounts from PenFed since July 2018 and is not aware of

a single instance, apart from this Litigation, where it purchased a debt from PenFed that the obligor

contended was the subject of a dispute.

   14. SCS has no interest in purchasing disputed accounts, which accounts are not good for

business, and takes affirmative steps not to purchase such accounts.

   15. To ensure that SCS does not purchase disputed accounts, SCS negotiates terms in its

purchase agreements that the seller will exclude accounts known to be presently disputed from the

pool of accounts sold to SCS.

   16. Specifically, as part of its July 25, 2018 purchase agreement with PenFed (the “Purchase

Agreement”), pursuant to which Mr. Wood’s account was sold, SCS negotiated Article I and

Sections 8.5, 8.8, and 8.9 to ensure it was not purchasing disputed accounts. A redacted, but

otherwise true and accurate, copy of the Purchase Agreement is attached hereto as Exhibit 3.

   17. Notably, Section 8.8 of the Purchase Agreement specifically states: “Seller has used

commercially reasonable efforts to remove all Ineligible Accounts from the Account Schedule”

while Article I defines “Ineligible Account” to include an account “involved in an unresolved

dispute with the Seller.”




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   18. At all relevant times, the term “unresolved dispute” as used in the Purchase Agreement has

been understood by SCS to mean a dispute that was not resolved to the satisfaction of both PenFed

and the accountholder. The term covers accounts for which a dispute investigation has not yet been

completed by PenFed as well as accounts where the accountholder disagrees with the results of

PenFed’s investigation.

   19. Because PenFed represents and warrants to SCS that it has used commercially reasonable

efforts to remove all accounts with an unresolved dispute, has complied with the Fair Credit

Reporting Act and its requirements regarding notating disputes, and has not omitted any material

information, SCS does not undertake an independent investigation into whether an account

purchased from PenFed is disputed prior to credit reporting the account. Rather, SCS reasonably

relies on the representations and warranties made by PenFed in the Purchase Agreement that the

accounts purchased are not the subject of a present dispute.

   20. In addition to reasonably relying on the contractual representations of PenFed, SCS also

reasonably relies upon consumers, such as Mr. Wood, to advise SCS if an account is disputed.

   21. In this instance, despite SCS credit reporting the Account since September 2018, Mr. Wood

never once advised SCS that the Account was disputed prior to filing the Litigation.

   22. Had Wood advised SCS that the Account was disputed, SCS would have timely notified

the national credit reporting agencies of the dispute, consistent with its policies and procedures.

   23. Specifically, at all relevant times since SCS’ purchase of the Account, it has been SCS’

policy and procedure that when a consumer or a consumer’s representative disputes a debt orally

or in writing the account must be restricted upon receipt of the dispute with a compliance condition

code of “XB” in SCS’ Ontario Systems Artiva collection system (“Artiva”).




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    24. To carry out this policy, SCS’ credit reporting staff is trained (which training is carried out

at least annually) to perform the following steps: (1) access the consumer’s account in Artiva; (2)

select “perform action[;]” (3) type “EOSCAR” in the action code field; and (4) select “set

EOSCAR dispute[.]” Upon completion of the last step, a notation is time-stamped in the account

notes for the account reflecting that the “Account Dispute Status” is changed to “Y[.]” Completion

of the last step also ensures that all future credit reporting for the account will automatically include

the “XB” compliance condition code.

    25. I have reviewed the Account Notes to determine if the aforementioned procedure was ever

followed. The Account Notes reflect that the aforementioned procedure was followed on April 21,

2020 after SCS became aware of the Litigation.

    26. I have custody and access to SCS’ Metro 2 reporting data for the Account. Attached hereto

as Exhibit 4 is a redacted, but otherwise true and accurate, copy of the Metro 2 data reported by

SCS for the Account on May 1, 2020. Exhibit 4 has been kept in the course of the regularly

conducted business activity of SCS in credit reporting accounts and was prepared as a regular

practice and custom of that activity at or near the time of the acts and events reported therein by,

or from information transmitted by, a person with knowledge of and a business duty to record or

transmit those matters.

    27. Exhibit 4 confirms that the “XB” compliance condition code was reported by SCS for the

Account beginning no later than May 1, 2020.

    28. The “XB” compliance condition code continued to be reported by SCS for the Account

until January 2021, at which time SCS requested deletion of the tradeline for the Account because

it reached the credit reporting date of obsolescence.




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   29. SCS does not itself engage in collection efforts relative to defaulted accounts purchased by

it, but rather outsources collection efforts to licensed third-party collection agencies.

   30. The Account Notes reflect that on or about October 2, 2018, SCS placed the Account for

collection with Glass Mountain Capital, LLC (“Glass Mountain”) – which agency is referred to as

“GMC” in the Account Notes.

   31. The Account Notes further reflect that on October 8, 2018, Glass Mountain returned the

Account to SCS with a “LITIGIOUS” code.

   32. The “LITIGIOUS” code refers to a public database search that identifies if consumers have

previously filed lawsuits and are therefore higher risk or litigious.

   33. The “LITIGIOUS” code does not have any bearing on, nor provide notice as to, whether

an account is the subject of a dispute. Rather, it merely notifies SCS that a consumer has filed one

or more lawsuits in the past.

   34. I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

Executed on this 26th day of August 2022

                                                       _____________________________
                                                       Brett Soldevila




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